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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                             Case No. 18-cr-20151-7
                                                    Hon. Matthew F. Leitman
v.

JERELL CLEMENT,

          Defendant.
________________________________________________________________/

       ORDER WAIVING COSTS OF ELECTRONIC MONITORING

      On August 20, 2020, the Court granted Defendant Jerell Clement’s motion for

compassionate release under 18 U.S.C. § 3582(c)(1)(A). (See Order, ECF No. 396.)

In that order, the Court added as a condition of Clement’s supervised release that he

be subject to “GPS tether/electronic monitoring.” (Id., PageID.396.)         Due to

Clement’s indigence, the Court WAIVES the costs associated with that monitoring.

      In all other respects, the Court’s August 20, 2020, order remains unchanged.

       IT IS SO ORDERED.
                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE


Dated: January 11, 2021




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       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on January 11, 2021, by electronic means and/or
ordinary mail.

                                           s/Holly A. Monda
                                           Case Manager
                                           (810) 341-9764




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